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United States District Cour£/ ‘>/ o ""Q.€ '
WESTERN DISTRICT OF TENNESSEE Q< /,`1/:_¢90/§§) ‘5`
Eastern Division 640 6’/~5/3
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JOYCE PETTY JUDGMENT |N A C|V|L CASE
V.
JACKSON-MADISON COUNTY
GENERAL HOSPITAL CASE NUMBER: 03-1327-T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T IS ORDERED AND ADJUDGED that in compliance with the Joint Stipuiation

of Dismissa| with Prejudice entered in the above-styled matter on 05/11/05, this case is
hereby D|SM|SSED WlTi-l PREJUD|CE.

APPROVED:

 

UNI STATES DISTRICT JUDGE

ROBERT R. Di TROLIO

 

 

CLERK
5)}3/©5 BY: CM
DATE ' D'EPUTY CLERK

This document entered on the docket sheet in compliance

with Ruie 58 and/or 79(3) FRCP on §§ 'KO ‘ 615 .

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 111 in
case 1:03-CV-01327 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

